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				IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2015 OK 46Case Number: SCBD-6272Decided: 06/15/2015THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2015 OK 46, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION.

IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONPAYMENT OF 2015 DUES
ORDER OF SUSPENSION FOR NONPAYMENT OF 2015 DUES
¶1 On June 1, 2015, the Board of Governors of the Oklahoma Bar Association filed an Application for the suspension of Oklahoma Bar Association members who failed to pay dues for the year 2015 as required by the Rules Creating and Controlling the Oklahoma Bar Association (Rules), 5 O.S. 2011, ch. 1, app. 1, art. VIII, §1. The Board of Governors recommended that the members whose names appear on the Exhibit A attached to the Application be suspended from membership in the Oklahoma Bar Association and from the practice of law in the State of Oklahoma, as provided by the Rules, 5 O.S. 2011, ch. 1, app. 1, art.&nbsp;VIII, §2. 
¶2 This Court finds that on April 15, 2015, the Executive Director of the Oklahoma Bar Association notified by certified mail all members delinquent in the payment of dues and/or expense charges to the Oklahoma Bar Association for the year 2015. The Board of Governors have determined that the members set forth in Exhibit A, attached hereto, have not paid their dues and/or expense charges for the year as provided in the Rules.
¶3 This Court, having considered the Application of the Board of Governors of the Oklahoma Bar Association, finds that each of the Oklahoma Bar Association members named on Exhibit A, attached hereto, should be suspended from the Oklahoma Bar Association membership and shall not practice law in the State of Oklahoma until reinstated.
¶4 IT IS THEREFORE ORDERED that the attorneys named on Exhibit A, attached hereto, are hereby suspended from membership in the Association and prohibited from the practice of law in the State of Oklahoma for failure to pay membership dues for the year 2015 as required by the Rules Creating and Controlling the Oklahoma Bar Association.
¶5 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 15TH DAY OF JUNE, 2015.
&nbsp;
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR

EXHIBIT A
(DUES - SUSPENSION)
James David Bergstrom, OBA No. 19637
2080 Northport Rd., #3
Cordova, TN 38016
Zachary Edward Bernard, OBA No. 31344
7118 Hartland Street
Houston, TX 77055
Will Douglas Bradley, OBA No. 12079
9028 Northwest 93rd Circle
Yukon, OK 73099
Peter John Brangaccio, OBA No. 1078
1144 S. Braden Ave.
Tulsa, OK 74112
Stephen Maxwell Burris, OBA No. 1355
10800 E. 51st
Tulsa, OK 74146
Nina Ann Cherian, OBA No. 19315
2811 Seven Shields Lane
Lewisville, TX 75056
Shannon Lee Denney, OBA No. 15945
310 E. Buffalo St., Suite 158
Milwaukee, WI 53222
Carylee Katharine Eisenberg, OBA No. 13031
P. O. Box 1156
Erick, OK 73645
Jared Ray Ellis, OBA No. 30070
P.O. Box 2152
Lawton, OK 73502-2152
Marco Dax Flores, OBA No. 31913
901 Main St., Suite 3500
Dallas, TX 75202
Cynthia Shea Goosen, OBA No. 21569
32 Timbercreek
Sherman, TX 75092
Lenora Michelle Gulley, OBA No. 30378
212 North Fourth Street
Muskogee, OK 74403
Jacqueline Carol Hair, OBA No. 17080
1600 W. 7th St.
Fort Worth, TX 76102
John Christopher Hastings, OBA No. 14735
1323 E. 71st St., Suite100
Tulsa, OK 74136
Joseph K. Heselton Jr., OBA No. 4151
Center 3000, Suite 113
3000 United Founders Blvd.
Oklahoma City, OK 73112
Michael Dee Higgins, OBA No. 22414
1908 Robin Ridge Dr.
Norman, OK 73072
Robert Baker Highsaw Jr., OBA No. 4193
8201 S. Walker Ave.
Oklahoma City, OK 73139-9451
Wesley Mack Hightower, OBA No. 22833
Blaies &amp; Hightower, L.L.P.
421 W. 3rd Street, Suite 900
Ft. Worth, TX 76102
Steven Erik Hjelm, OBA No. 17230
P.O. Box 33208
Tulsa, OK 74153-1208
Christopher M. Hunt, OBA No. 13193
P. O. Box 1740
Owasso, OK 74055
David William Knight, OBA No. 5085
4726 Jacksboro Hwy., Ste. G
Wichita Falls, TX 76302
T. Elaine Kurth, OBA No. 12129
2306 N. Kansas Ave.
Liberal, KS 67901
Jana Kay Leavey, OBA No. 17885
1217 Bert Lane
Little Elm, TX 75068
Mitchell Kevin Leonard, OBA No. 13842
1 W. Main, Ste. 100
Idabel, OK 74745
Angela R. McAlister, OBA No. 21277
2721 Tottingham Rd.
Oklahoma City, OK 73120
April Beeman Metwalli, OBA No. 19351
7601 Wyndale Rd.
Chevy Chase, MD 20815
Bodil Millwood Mills, OBA No. 20095
Bodil Mills LLC
626 W. 14th St.
Tulsa, OK 74127
Carolyn Davis Moon, OBA No. 12146
1 Keahole Place, #1205
Honolulu, HI 96825
Samuel Ryan Norris, OBA No. 20795
4607 N. Mountain Grove Rd.
Alma, AR 72921-8487
Stephen S. Parker, OBA No. 12433
101 Park Ave., Suite 600
Oklahoma City, OK 73102
Thomas Jerrell Ray Jr., OBA No. 7437
Ray Law Offices P.C.
P.O. Box 147
Barnhart, MO 63012
Christopher Bernard Reed, OBA No. 31767
2911 Turtle Creek Blvd., Suite 900
Dallas, TX 75219
Shirley J. Rider, OBA No. 14593
4117 N.W. 59th Street
Oklahoma City, OK 73112
Maria Kristina Roberts, OBA No. 18134
14828 Hardy Street
Overland Park, KS 66223
Frank Raymond Sewell, OBA No. 14064
14900 N. Pennsylvania, Apt. 1134
Oklahoma City, OK 73134
J. Brent Smalling, OBA No. 8307
713 Hardwood Trail
Mesquite, TX 75150
Steven R Steakley, OBA No. 8573
110 N. Robinson, Ste. 200
Oklahoma City, OK 73102
Chere Sublett, OBA No. 13533
1616 S. Peoria, # 1
Tulsa, OK 74120
William Peter Sullivan, OBA No. 16027
14815 N. Iris Ave.
Tampa, FL 33613-1828
David Blaine Weaver, OBA No. 9410
1901 E. Broadway, Apt. #104
Enid, OK 73701
Sharon Kay Jackson Wendell, OBA No. 30803
700 Louisiana, Suite 4100
Houston, TX 77002
Travis Lee Wright, OBA No. 20560
1314 S. Denver Ave., Apt. 6
Tulsa, OK 74119




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